           Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 1 of 31




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 21-cr-00599 (RBW)
               v.                              :
                                               :
DONNIE DUANE WREN, and                         :
THOMAS HARLEN SMITH                            :
                                               :
                       Defendants.             :


                    GOVERNMENT’S OPPOSITION TO DEFENDANTS’
                          MOTION TO TRANSFER VENUE


       Defendants, Thomas H. Smith and Donnie Wren, who are charged in connection with

events at the U.S. Capitol on January 6, 2021, have moved to transfer venue in this case to “another

district.” (ECF 67 at 1.) Wren and Smith fail to establish that they “cannot obtain a fair and

impartial trial” in this district, Fed. R. Crim. P. 21(a), and this Court should deny the motion. 1



       1
          Judges on this Court have denied motions for change of venue in dozens of January 6
prosecutions, and no judge has granted a change of venue in a January 6 case. See, e.g., United
States v. Ramey, 22-cr-184, Minute Entry (D.D.C. Jan. 30, 2023) (DLF); United States v.
Eckerman, et al., No. 21-cr-623, Minute Order (D.D.C. Jan. 26, 2023) (CRC); United States v.
Pollock, et al., No. 21-cr-447, Minute Entry (D.D.C. Jan. 25, 2023) (CJN); United States v.
Gossjankowski, No. 21-cr-12, ECF No. 114 (D.D.C. Jan. 25, 2023) (PLF); United States v. Adams,
No. 21-cr-212, ECF No. 60 (D.D.C. Jan. 24, 2023) (ABJ); United States v. Rhine, No. 21-cr-687,
ECF No. 78 (D.D.C. Jan. 24, 2023) (RC); United States v. Oliveras, No. 21-cr-738, ECF No. 52
(D.D.C. Jan. 17, 2023) (BAH); United States v. Sheppard, No. 21-cr-203, ECF No. 62 (D.D.C.
Dec. 28, 2022) (JDB); United States v. Samsel, et al., No. 21-cr-537, ECF No. 227 (D.D.C. Dec.
14, 2022) (JMC); United States v. Gillespie, No. 22-cr-60, ECF No. 41 (D.D.C. Nov. 29, 2022)
(BAH); United States v. Barnett, No. 21-cr-38, ECF No. 90 (D.D.C. Nov. 23, 2022) (CRC); United
States v. Bender, et al., No. 21-cr-508, ECF No. 78 (D.D.C. Nov. 22, 2022) (BAH); United States
v. Sandoval, No. 21-cr-195, ECF No. 88 (D.D.C. Nov. 18, 2022) (TFH); United States v. Vargas
Santos, No. 21-cr-47, Minute Entry (D.D.C. Nov. 16, 2022) (RDM); United States v. Nordean, et
al., No. 21-cr-175, ECF No. 531 (D.D.C. Nov. 9, 2022) (TJK); United States v. Ballenger, No. 21-
719, ECF. No. 75 (D.D.C. Oct. 28, 2022) (JEB); United States v. Eicher, No. 22-cr-38, ECF No.
34 (D.D.C. Oct. 20, 2022) (CKK); United States v. Schwartz, et al., No. 21-cr-178, ECF No. 142
(D.D.C. Oct. 11, 2022) (APM); United States v. Nassif, No. 21-cr-421, ECF No. 42 (D.D.C. Sep.
12, 2022) (JDB); United States v. Brock, No. 21-cr-140, ECF No. 58 (D.D.C. Aug. 31, 2022)


                                                   1
            Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 2 of 31




                                        BACKGROUND

        On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was underway, a large crowd gathered

outside the United States Capitol building, entered the restricted grounds, and forcibly breached

the Capitol building. As a result, the Joint Session and the entire official proceeding of the

Congress were halted until law enforcement was able to clear the Capitol of hundreds of unlawful

occupants and ensure the safety of elected officials.

        Defendants Thomas Smith and Donnie Wren, cousins, traveled together to Washington,

D.C. to attend former President Trump’s rally on January 6, 2021. After the rally, Smith and Wren

walked from the rally to the United States Capitol. They entered Capitol grounds and joined in

the riot.




(JDB); United States v. Jensen, No. 21-cr-6, Minute Entry (D.D.C. Aug. 26, 2022) (TJK); United
States v. Seitz, No. 21-cr-279, Minute Order (D.D.C. Aug. 17, 2022) (DLF); United States v.
Strand, No. 21-cr-85, ECF No. 89 (D.D.C. Aug. 17, 2022) (CRC); United States v. Williams, No.
21-cr-618, ECF No. 63 (D.D.C. Aug. 12, 2022) (ABJ); United States v. Herrera, No. 21-cr-619,
ECF No. 54 (D.D.C. August 4, 2022) (BAH); United States v. Garcia, No. 21-cr-129, ECF No. 83
(D.D.C. July 22, 2022) (ABJ); United States v. Rusyn, et al., No. 21-cr-303, Minute Entry (D.D.C.
July 21, 2022) (ABJ); United States v. Bledsoe, No. 21-cr-204, Minute Order (D.D.C. July 15,
2022) (BAH); United States v. Calhoun, No. 21-cr-116, Minute Order (D.D.C. July 11, 2022)
(DLF); United States v. Rhodes, et al., No. 22-cr-15, ECF No. 176 (D.D.C. June 28, 2022) (APM);
United States v. Williams, No. 21-cr-377, Minute Entry (D.D.C. June 10, 2022) (BAH); United
States v. McHugh, No. 21-cr-453, Minute Entry (D.D.C. May 4, 2022) (JDB); United States v.
Hale-Cusanelli, No. 21-cr-37, Minute Entry (D.D.C. Apr. 29, 2022) (TNM); United States v.
Webster, No. 21-cr-208, ECF No. 78 (D.D.C. Apr. 18, 2022) (APM); United States v. Alford, 21-
cr-263, ECF No. 46 (D.D.C. Apr. 18, 2022) (TSC); United States v. Brooks, No. 21-cr-503, ECF
No. 31 (D.D.C. Jan. 24, 2022) (RCL); United States v. Bochene, No. 21-cr-418, ECF No. 31
(D.D.C. Jan. 12, 2022) (RDM); United States v. Fitzsimons, No. 21-cr-158, Minute Order (D.D.C.
Dec. 14, 2021) (RC); United States v. Reffitt, No. 21-cr-32, Minute Order (D.D.C. Oct. 15, 2021)
(DLF); United States v. Caldwell, 21-cr-28, ECF No. 415 (D.D.C. Sept. 14, 2021) (APM).


                                                 2
           Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 3 of 31




       Smith and Wren were in the Lower West Terrace Tunnel area at around 3:00 p.m. They

made their way to the Tunnel entrance. Wren remained at the mouth of the Tunnel while Smith,

carrying a flag attached to a flagpole, entered the Tunnel and approached the police line standing

guard at the doors leading into the Capitol building. Moments later, Smith jammed the flagpole

like a spear trying to stab at one of the glass windowpanes within the first set of Tunnel doors.

       Less than an hour later, at approximately 3:50 p.m., Smith and Wren made their way to the

Upper West Terrace, where they stood directly in front of the police line, walking back and forth

and waving flags for approximately 10 minutes. A physical conflict began between the police and

the crowd of rioters at approximately 4:21 p.m. Smith and Wren participated in this conflict,

pushing back against the officers’ riot shields for approximately 25 seconds. Smith turned his

back to the officers then used his body weight to push into a police riot shield.

       Following the physical confrontation with the police line, Smith charged into a crowd of

rioters to kick an officer’s backside, then darted out of the crowd. Moments later, Smith threw a

metal stick or pole at the police line. The metal stick or pole hit an officer in the head, causing the

officer to stagger backwards. Smith then retreated into the crowd of rioters.

       Smith and Wren left the Upper West Terrace area at approximately 4:30 p.m. and began

their departure from the Capitol grounds. Based on their actions on January 6, 2021, the defendants

were charged with violations of 18 U.S.C. § 111(a)(1) and (b), 18 U.S.C. § 111(a)(1), 18 U.S.C. §

231(a)(3), 18 U.S.C. § 1752(a)(1), (2), and (4), 18 U.S.C. § 1752(a)(2) and (b)(1)(A), 18 U.S.C. §

1752(a)(4) and (b)(1)(A), 40 U.S.C. § 5104(e)(2)(D) and (F), and 18 U.S.C. § 1512(c)(2), 2. (ECF

No. 71.)

       The defendants now move for a change of venue. (ECF 67 at 1.) The defendants contend

that prejudice should be presumed in this district for several reasons, in particular: (1) the size and




                                                  3
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 4 of 31




characteristics of the District of Columbia jury pool; (2) the nature and extent of pretrial publicity;

(3) the proximity between the publicity and trial; (4) that the jury is irredeemably biased; and (5)

the results of the D.C. Federal Defender’s Office survey of potential jurors. The defendants also

contend that, in the alternative, if the Court were to deny a transfer of venue, then an expanded

examination of prospective jurors must be conducted. Each of the defendants’ arguments is

without merit, and the motion should be denied.

                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d




                                                    4
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 5 of 31




31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).

   I.      Size and Characteristics of the District of Columbia Community.

           A. Size of Community

        The defendants suggest (ECF 67 at 5) that an impartial jury cannot be found in Washington,

D.C., despite the District’s population of nearly 700,000. Although this District may be smaller

than most other federal judicial districts, it has a larger population than two states (Wyoming and

Vermont), and more than four times as many people as the parish in Rideau. The relevant question

is not whether the District of Columbia is as populous as the Southern District of Texas in Skilling,

but whether it is large enough that an impartial jury can be found. In Mu’Min v. Virginia, 500 U.S.

415, 429 (1991), the Court cited a county population of 182,537 as supporting the view than an

impartial jury could be selected. And Skilling approvingly cited a state case in which there was “a

reduced likelihood of prejudice” because the “venire was drawn from a pool of over 600,000

individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501 U.S. 1030, 1044

(1991)). There is simply no reason to believe that, out of an eligible jury pool of nearly half a

million, “12 impartial individuals could not be empaneled.” Id.

           B. Characteristics of Community

        The defendants also contend that a D.C. jury cannot be impartial because of various

characteristics of the District’s jury pool—in particular, the impact on the District’s residents and

the political makeup of the District’s electorate. (ECF 67 at 5-8) Neither of these claims has merit.

        First, the defendants contend that a D.C. jury could not be impartial because D.C. residents

have been particularly affected by events surrounding January 6, including the deployment of the




                                                 5
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 6 of 31




National Guard, the mayor’s declaration of a state of emergency, road closures, and a curfew.

(ECF 67 at 6-7.) But January 6, 2021 happened more than two years ago. Further, many D.C.

residents do not live or work near the Capitol where the roads were closed and the National Guard

was deployed. There is no reason to believe that the District’s entire population of nearly 700,000

people was so affected by these events two years ago that the Court cannot seat an impartial jury

here.

        Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes even though some members of the community were victimized.

See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon bombing); Skilling, 561

U.S. at 399 (Enron collapse); United States v. Yousef, 327 F.3d 56, 155 (2d Cir. 2003) (1993 World

Trade Center bombing); United States v. Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per

curiam) (unpublished) (September 11, 2001 attacks, including on the Pentagon). In Skilling, the

Supreme Court rejected the contention that Enron’s “sheer number of victims” in the Houston area

“trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384 (quotation omitted). “Although

the widespread community impact necessitated careful identification and inspection of prospective

jurors’ connections to Enron,” the voir dire was “well suited to that task.” Id. In this case, too,

voir dire can adequately identify those D.C. residents who were so affected by January 6 that they

cannot impartially serve as jurors. There is no reason to presume prejudice.

        Secondly, the defendants contend that they cannot obtain a fair trial in the District of

Columbia because more than 90% of its voters voted for the Democratic Party candidate in the

2020 Presidential Election. (ECF 67 at 8.) The en banc D.C. Circuit rejected a nearly identical

claim in Haldeman, where the dissent concluded that a venue change was required because

“Washington, D.C. is unique in its overwhelming concentration of supporters of the Democratic




                                                6
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 7 of 31




Party” and the Democratic candidate received 81.8% and 78.1% of the vote when Nixon ran for

President in 1968 and 1972, respectively. Haldeman, 559 F.2d at 160 (MacKinnon, J., concurring

in part and dissenting in part). The majority rejected the relevance of this fact, observing that

authority cited by the dissent gave no “intimation that a community’s voting patterns are at all

pertinent to venue.” Id. at 64 n.43; see also United States v. Chapin, 515 F.2d 1274, 1286 (D.C.

Cir. 1975) (rejecting the argument that “because of [the defendant’s] connection with the Nixon

administration and his participation in a ‘dirty tricks’ campaign aimed at Democratic candidates

and with racial overtones, a truly fair and impartial jury could not have been drawn from the

District’s heavily black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendants’ political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that

“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”

Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing

its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.




                                                  7
            Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 8 of 31




           To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly

associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, Roger Stone, and Steve Bannon have all been tried in the District. See United States v.

Barry, 938 F.2d 1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991);

United States v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F.

Supp. 2d 1 (D.D.C. 2007); United States v. Stone, No. 19-cr-0018 (ABJ), 2020 WL 1892360

(D.D.C. Apr. 16, 2020); United States v. Bannon, No. 210-cr-670 (CJN). Indeed, the Court in

Stone rejected the argument that jurors “could not possibly view [Roger Stone] independently from

the President” because of his role in the presidential campaign or that “if you do not like Donald

Trump, you must not like Roger Stone.” 2020 WL 1892360, at *30-31. Similarly here, the fact

that most District residents voted against Donald Trump does not mean those residents could not

impartially consider the evidence against those charged in connection with the events on January

6.


     II.      Nature and Extent of Pretrial Publicity Does Not Warrant Change of Venue.

           The defendants contend that a change of venue is warranted based on pretrial publicity of

the events on January 6, 2021, including the proximity between the publicity and the trial. (ECF

67 at 8-13)

           “The mere existence of intense pretrial publicity is not enough to make a trial unfair, nor

is the fact that potential jurors have been exposed to this publicity.” United States v. Childress, 58

F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975) (juror exposure

to “news accounts of the crime with which [a defendant] is charged” does not “alone presumptively

deprive[] the defendant of due process”). Indeed, “every case of public interest is almost, as a



                                                    8
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 9 of 31




matter of necessity, brought to the attention of all the intelligent people in the vicinity, and scarcely

any one can be found among those best fitted for jurors who has not read or heard of it, and who

has not some impression or some opinion in respect to its merits.” Reynolds v. United States, 98

U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived notion as to the guilt or

innocence of an accused, without more,” is insufficient to establish prejudice. Irvin, 366 U.S. at

723. “It is sufficient if the juror can lay aside his impression or opinion and render a verdict based

on the evidence presented in court.” Id.

        The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire—none of which

apply here.    See Rideau v. Louisiana, 373 U.S. 723 (1963).              In Rideau, the defendant’s

confession—obtained while he was in jail and without an attorney present—was broadcast three

times shortly before trial on a local television station to audiences ranging from 24,000 to 53,000

individuals in a parish of approximately 150,000 people. Id. at 724 (majority opinion), 728-29

(Clark, J., dissenting). The Court concluded that, “to the tens of thousands of people who saw and

heard it,” the televised confession “in a very real sense was Rideau’s trial—at which he pleaded

guilty to murder.” Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without

pausing to examine a particularized transcript of the voir dire,” that these “kangaroo court

proceedings” violated due process. Id. at 726-27.

        Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)




                                                   9
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 10 of 31




(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       Turning to the factors in Skilling, the Supreme Court considered several factors in

determining that prejudice should not be presumed where former Enron executive Jeffrey Skilling

was tried in Houston, where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court

considered the “size and characteristics of the community.” Id. at 382. Unlike Rideau, where the

murder “was committed in a parish of only 150,000 residents,” Houston was home to more than

4.5 million people eligible for jury service. Id. at 382. Second, “although news stories about

Skilling were not kind, they contained no confession or other blatantly prejudicial information of

the type readers or viewers could not reasonably be expected to shut from sight.” Id. Third, “over

four years elapsed between Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of

media attention diminished somewhat in the years following Enron’s collapse.” Id. at 383.

“Finally, and of prime significance, Skilling’s jury acquitted him of nine insider-trading counts,”

which undermined any “supposition of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,




                                                10
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 11 of 31




780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

the defendant’s contention, those factors do not support a presumption of prejudice in this case.

       The defendants attempt to rely upon the Skilling court’s reasoning by incorrectly stating

that in “[i]n Skilling, the Court noted that presumed prejudice could arise from media coverage

that ‘readers or viewers could not reasonably be expected to shut from sight’ as jurors.” (ECF 67

at 8-9 (citing Skilling, 561 U.S. at 382-83 (emphasis added).) But the defendants misstate the most

crucial portion of the Skilling court’s reasoning: in holding that Skilling’s news coverage was not

like that of Rideau, the Skilling court stressed the fact that “Rideau’s dramatically staged admission

of guilt” (made while in jail and without the presence of an attorney) was particularly prejudicial

in nature. See Skilling, 561 U.S. at 382-83. According to the Skilling court, it was the prejudicial

nature of the defendant’s confession in Rideau which was the driving source of the need for change

of venue—not necessarily the extent of the media coverage itself. See id.

       Here, like in Skilling, this case does not involve a “confession or other blatantly prejudicial

information of the type readers or viewers could not reasonably be expected to shut from sight.”

Skilling, 561 U.S. at 382 (emphasis added). Instead, factual news coverage of the events at the

Capitol on January 6, 2021 do not automatically rise to the level requiring a change of venue under

Skilling’s factors. In Haldeman, although some of the coverage of the Watergate scandal was

“hostile in tone and accusatory in content,” the bulk of the coverage “consist[ed] of

straightforward, unemotional factual accounts of events and of the progress of official and

unofficial investigations.” Haldeman, 559 F.2d at 61. Even news stories that are “not kind,”

Skilling, 561 U.S. at 382, or are “hostile in tone and accusatory in content,” Haldeman, 559 F.2d

at 61, do not alone raise a presumption of prejudice.

       As in Skilling and Haldeman, the news coverage of Smith and Wren is “neither as




                                                 11
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 12 of 31




inherently prejudicial nor as unforgettable as the spectacle of Rideau’s dramatically staged and

broadcast confession.” Id. Indeed, although any media characterizations of Smith and Wren

would be inadmissible, the photos and videos of Smith and Wren that have been disseminated

would be both admissible and highly relevant at trial. Compare Sheppard, 384 U.S. at 360 (noting

that information reported by the media was “clearly inadmissible” and that “[t]he exclusion of such

evidence in court is rendered meaningless when news media make it available to the public”), with

Murray v. Schriro, 882 F.3d 778, 805 (9th Cir. 2018) (“There was no inflammatory barrage of

information that would be inadmissible at trial. Rather, the news reports focused on relaying

mainly evidence presented at trial.”); Henderson v. Dugger, 925 F.2d 1309, 1314 (11th Cir. 1991)

(“[B]ecause we have found [the defendant’s] confessions were admissible, the damage if any from

the [pretrial] publicity is negligible.”).

        The defendants point to the infamous Oklahoma City Bombing case of Timothy McVeigh

as analogous. In that case, McVeigh was granted a rare change of venue from Oklahoma City to

Denver, Colorado. (ECF 67 at 8-9.) However, defendants are “unable to point to instances in

which that precedent was followed in this district or in any other federal court, and that is because

the decision arose in a unique context that bears no resemblance to the situation here.” United

States v. Garcia, No. 21-0129 (ABJ), 2022 WL 2904352 (D.D.C. July 22, 2022), at *6-7. Unlike

in McVeigh, where only “two individuals” were charged with killing 168 people, including infants

and children, by blowing up the federal office building and “the personal impact was concentrated

almost entirely in Oklahoma City, where the friends and family members of the victims resided”

(Garcia, 2022 WL 2904352, at *6) the events of January 6, 2021 instead present the opposite

circumstances: “hundreds of individuals have been charged in a single incident with primarily

nationwide implications, and there are a much smaller number of injured victims with ties to the




                                                 12
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 13 of 31




community.” Id. at *6. For these and other reasons articulated in United States v. Garcia, the

McVeigh case is inapposite to the events of January 6.

       The defendants argue that prejudice should be presumed based on statements by the Vice

President, former Speaker of the House, and other political leaders. (ECF 67 at 9-10.) But harsh

condemnation of a defendant’s actions is not uncommon in high-profile criminal cases, and it does

not suffice to establish prejudice. These statements do not rise above the level of those in Skilling

and Haldeman, and for the reasons stated above. And statements by the Vice President and former

Speaker of the House are ordinarily reported across the entire country, and exposure to these

statements is hardly unique to Washington, D.C.

       The defendants also contend that the nationally televised hearings of the U.S. House of

Representatives Select Committee to Investigate the January 6th Attack on the United States

Capitol (Select Committee) support a change of venue. (ECF 67 at 12-13.) The defendants point

out that “[t]he investigation and actions of a House Select Committee regularly feature prominently

in print, television, and internet media.” (ECF 67 at 12-13.) But this exposure was not limited to

D.C. Instead, the hearings were carried on national networks across the country. In similar

circumstances, the D.C. Circuit affirmed the denial of a change of venue where the defendants—

who were high-ranking members of the Nixon administration—complained that they were

prejudiced by news coverage of the Watergate-related hearings. Haldeman, 559 F.2d at 62-64 &

nn.35, 43. The court of appeals observed that “a change of venue would have been of only doubtful

value” where the “network news programs and legislative hearings” related to Watergate were

“national in their reach.” Id. at n.43.

       Moreover, the 20 million viewers of the June 9, 2022, hearing represent only about 6% of

the total U.S. population. The defendants have not pointed to any evidence that D.C. residents




                                                 13
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 14 of 31




were more likely to have watched that hearing than citizens in other parts of the country. And

even if D.C. residents tuned in at a higher rate, it is still likely that a majority of D.C. residents did

not watch the hearings. Moreover, those hearings have focused on the events of January 6 as a

whole, not on the actions of the defendant. There is no reason to believe that coverage of the

hearings will create in D.C. such a degree of bias against these particular defendants that an

impartial jury cannot be selected.

        Additionally, a careful voir dire—rather than a change of venue—is the appropriate way

to address potential prejudice from the Select Committee hearings. “[V]oir dire has long been

recognized as an effective method of routing out [publicity-based] bias, especially when conducted

in a careful and thoroughgoing manner.” In re Nat’l Broadcasting Co., 653 F.2d 609, 617 (D.C.

Cir. 1981). After a careful voir dire, this Court can select a jury from those residents who either

did not watch the hearings or who, despite having watched the hearing, give adequate assurances

of their impartiality. See Haldeman, 559 F.3d at 62 n.35 (rejecting claim of prejudice even though

“several jurors” had “seen portions of the televised Senate hearings” related to Watergate).

        The defendants similarly assert that a fair trial cannot be had in D.C. because of the volume

of news coverage of January 6. (ECF 67 at 12-13) But even “massive” news coverage of a crime

does not require prejudice to be presumed. Haldeman, 559 F.2d at 61. And a comparatively small

percentage of the news coverage of January 6 has focused on Smith and Wren. Unlike most cases

involving pretrial publicity, where the news coverage focuses on the responsibility of a single

defendant (as in Rideau or Tsarnaev) or small number of co-defendants (as in Skilling and

Haldeman), the events of January 6 involved thousands of participants and have so far resulted in

charges against more than 900 people. The Court can guard against any spillover prejudice from

the broader coverage of January 6 by conducting a careful voir dire and properly instructing the




                                                   14
          Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 15 of 31




jury about the need to determine a defendant’s individual guilt.

          And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest);

United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893, at *3 (D.D.C. Jan. 12, 2022)

(“The fact that there has been ongoing media coverage of the breach of the Capitol and subsequent

prosecutions, both locally and nationally, means that the influence of that coverage would be

present wherever the trial is held.” (internal quotation marks omitted)). Indeed, many of the news

stories that cited by the defendants were published by media organizations with wide national

circulation, not purely local outlets. (ECF 67 at 9, citing The Washington Post; id. at 10, n.8 citing

USA Today; id. at 10, n.10 citing MSNBC.com) Thus, the nature and extent of the pretrial

publicity do not support a presumption of prejudice.

   III.      Proximity Between Publicity and Trial

          Smith and Wren also argue that the proximity of the publicity discussed to the trial

necessitates a change of venue. (ECF 67 at 12-13.)          This is incorrect. In Skilling, the Court

considered the fact that “over four years elapsed between Enron’s bankruptcy and Skilling’s trial.”

Skilling, 561 U.S. at 383. In this case, 25 months have already elapsed since the events of January

6, 2021, and more time will elapse before trial. This is far more than in Rideau, where the

defendant’s trial came two months after his televised confession. Rideau, 373 U.S. at 724.

Although January 6 continues to be in the news, the “decibel level of media attention [has]

diminished somewhat,” Skilling, 561 U.S. at 383. Moreover, only a relatively small percentage of

the recent stories have mentioned Smith or Wren themselves, and much of the reporting has been




                                                  15
          Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 16 of 31




national is scope, rather than limited to Washington, D.C.

          Because Smith and Wren have not yet gone to trial, the final Skilling factor—whether the

“jury’s verdict . . . undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at

383—does not directly apply. But the fact that Skilling considered this factor to be “of prime

significance,” id., underscores how unusual it is to presume prejudice before trial. Ordinarily, a

case should proceed to trial in the district where the crime was committed, and courts can examine

after trial whether the record supports a finding of actual or presumed prejudice. In short, none of

the Skilling factors supports the defendant’s contention that the Court should presume prejudice

and order a transfer of venue without even conducting voir dire.

    IV.      The District’s Jury Pool is Not Irredeemably Biased.

          The defendants also contend that a D.C. jury cannot be impartial because “the residents of

the District of Columbia view themselves as victims of the attacks on the U.S. Capitol.” (ECF 67

at 13.) But the prompt guilty verdicts in other January 6 jury trials resulted directly from the

strength of the government’s evidence. Moreover, juries in two recent January 6 trials have either

been unable to reach a verdict on certain counts, see United States v. Williams, No. 21-cr-618

(D.D.C.), or have acquitted on some counts, see United States v. Rhodes, et al., No. 22-cr-15, ECF

No. 410 (D.D.C. Nov. 29, 2022). This indicates that D.C. jurors are carefully weighing the

evidence and not reflexively convicting January 6 defendants on all charges. And, as explained

below, the jury selection in those cases actually indicates that impartial juries can be selected in

this district.

          The defendants further accuse “the Court itself” as “view[ing] the residents of the District

as victims” based on the fact that defendants in January 6 cases, including Smith and Wren, have

been ordered to stay out of the District except as necessary to attend Court proceedings. (ECF 67




                                                  16
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 17 of 31




at 13.) This argument conflates two separate legal issues. The Court ordered the defendants to

stay away from Washington, D.C., as a condition of their pretrial release, pursuant to 18 U.S.C.

§ 3142(c), because it is the location of the offenses with which the defendants have been charged

and—importantly—because the United States Capitol remains there. In ordering them to stay

away, the Court found that this condition was among “the least restrictive . . . combination of

conditions, that . . . will reasonably assure the appearance of [the defendants] as required and the

safety of any other person and the community . . . .” The Court’s order was not a pronouncement

about who qualifies as a victim of the defendant’s offenses. And in any event, the defendant cites

to no precedent supporting the concept that a stay-away order, directed at an out-of-state defendant,

is a tacit admission by the Court that the jury pool will be biased at trial.

   V.        The Poll Submitted by the Defendants Does Not Support a Change of Venue.

        Defendants rely on a poll conducted by Select Litigation, a private litigation consulting

firm, at the request of the Federal Public Defender for the District of Columbia. (ECF 67-1 at 14-

15) Specifically, Select Litigation conducted a telephone poll of potential jurors in the District of

Columbia and in the Atlanta Division of the Northern District of Georgia and contracted with a

media research firm to analyze news media coverage of January 6 in both of those jurisdictions.

This poll does not support a change of venue.

        A.      Courts have repeatedly declined to find a presumption of prejudice based on
                pretrial polling without conducting voir dire.

        The defendants argue that this Court should find a presumption of prejudice based on this

poll of prospective jurors. But “courts have commonly rejected such polls as unpersuasive in favor

of effective voir dire as a preferable way to ferret out any bias.” United States v. Causey, 2005

WL 8160703, at *7 (S.D. Tex. 2005). As one circuit has observed, the Supreme Court’s emphasis

on the important role of voir dire in addressing pretrial publicity “undercuts” the “argument that



                                                  17
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 18 of 31




poll percentages . . . decide the question of a presumption of prejudice.” In re Tsarnaev, 780 F.3d

14, 23 (1st Cir. 2015) (per curiam); see Mu’Min v. Virginia, 500 U.S. 415, 427 (1991) (observing

that, “[p]articularly with respect to pretrial publicity, . . . primary reliance on the judgment of the

trial court makes good sense”).

       Indeed, the D.C. Circuit has rejected a claim of presumed prejudice based on the results of

a pre-voir dire survey.     Haldeman, 559 F.2d at 64.          In Haldeman, seven former Nixon

administration officials (including the former Attorney General of the United States) were

prosecuted for their role in the Watergate scandal. Id. at 51. According to a poll commissioned

by the defense in that case, 93% of the Washington, D.C. population knew of the charges against

the defendants and 61% had formed the opinion that they were guilty. Id. at 144, 178 n.2

(MacKinnon, J., concurring in part and dissenting in part). Recognizing that the case had produced

a “massive” amount of pretrial publicity, id. at 61, the D.C. Circuit nevertheless held that the

district court “was correct” to deny the defendants’ “pre-voir dire requests for . . . a change of

venue,” id. at 63-64. The court observed that the district court “did not err in relying less heavily

on a poll taken in private by private pollsters and paid for by one side than on a recorded,

comprehensive voir dire examination conducted by the judge in the presence of all parties and

their counsel.” Id. at 64 n.43; see Jones, 404 F.2d at 1238 (observing that it is “upon the voir dire

examination,” and “usually only then, that a fully adequate appraisal of the claim [of local

community prejudice] can be made” (quotation omitted)).

       Other circuits have similarly rejected attempts to elevate polling results over voir dire. In

United States v. Campa, a pre-trial survey found that 69% of respondents were prejudiced against

anyone charged with spying on behalf of Cuba, as the defendants were. Campa, 459 F.3d at 1157

(Birch, J., dissenting). The en banc Eleventh Circuit affirmed the denial of a motion for change of




                                                  18
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 19 of 31




venue, explaining that “[w]hen a defendant alleges that prejudicial pretrial publicity would prevent

him from receiving a fair trial, it is within the district court’s broad discretion to proceed to voir

dire to ascertain whether the prospective jurors have, in fact, been influenced by pretrial publicity.”

Id. at 1146 (majority opinion).

       Similarly, in United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009), a poll indicated that

99 percent of respondents had heard about the brutal rape and murder with which the defendant

was charged, nearly 88 percent of those respondents believed he was guilty, and about 42 percent

of respondents had a strongly held opinion of his guilt. Id. at 786; Brief for the Appellant, United

States v. Rodriguez, No. 07-1316 (8th Cir.), 2008 WL 194877, at *19. Nonetheless, the Eighth

Circuit found no presumption of prejudice, observing that a district court was not required “to

consider public opinion polls when ruling on change-of-venue motions.” Rodriguez, 581 F.3d at

786. And the court held that, in any event, the poll did not “demonstrate widespread community

prejudice” because the “media coverage had not been inflammatory,” two years had passed since

the murder, and “the district court concluded that special voir dire protocols would screen out

prejudiced jurors.” Id.

       There are many reasons to rely on voir dire, rather that public-opinion polls, when assessing

whether prejudice should be presumed. First, polling lacks many of the safeguards of court-

supervised voir dire, including the involvement of both parties in formulating the questions.

Surveys that are not carefully worded and properly conducted can produce misleading results, such

as by asking leading questions or providing the respondents with facts that will influence their

responses. See Campa, 459 F.3d at 1146 (noting problems with “non-neutral” and “ambiguous”

questions). Second, polling lacks the formality that attends in-court proceedings under oath, and

it does not afford the court the “face-to-face opportunity to gauge demeanor and credibility.”




                                                  19
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 20 of 31




Skilling, 561 U.S. at 395. Third, polls ordinarily inform the court only the extent to which

prospective jurors have heard about a case and formed an opinion about it. But that is not the

ultimate question when picking a jury. A prospective juror is not disqualified simply because he

has “formed some impression or opinion as to the merits of the case.” Irvin v. Dowd, 366 U.S.

717, 722 (1961). Instead, “[i]t is sufficient if the juror can lay aside his impression or opinion and

render a verdict based on the evidence presented in court.” Id. at 723. But pre-trial surveys are

poorly suited to answering that ultimate question, which is best asked in the context of face-to-

face voir dire under oath. See Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (observing

that the trial judge’s function in voir dire “is not unlike that of the jurors later in the trial” because

“[b]oth must reach conclusions as to impartiality and credibility by relying on their own

evaluations of demeanor evidence and of responses to questions”).

        In sum, federal courts have shown an overwhelming preference for assessing prejudice

through court-supervised voir dire rather than through public opinion polls. And the defendants

have not offered any reason to depart from that usual practice here. Thus, this Court need not give

substantial weight to the polling when considering whether to presume prejudice.                 But, as

explained below, the poll submitted by the defendants does not support a presumption of prejudice

in any event.

        B.      The Select Litigation poll does not demonstrate pervasive prejudice in the
                District of Columbia.

        Contrary to the defendant’s contention, the Select Litigation poll does not support a

presumption of prejudice in this District. As an initial matter, the Select Litigation poll selected

only one comparator jurisdiction—the Atlanta Division of the Northern District of Georgia. The

defendants have not requested a transfer to that district or division, but instead ask this Court for a

transfer to a district court in Virginia or Maryland. (ECF 67 at 5.) The Select Litigation survey



                                                   20
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 21 of 31




tells the Court nothing about the views or media exposure of prospective jurors in any district

within either of those states, but only those of jurors in the Northern District of Georgia, a district

to which defendants in this case have not asked for a transfer. The poll therefore cannot show that

selecting an impartial jury would be any more difficult in the District of Columbia than in any

district within Virginia or Maryland. See United States v. Haldeman, 559 F.2d 31, 64 n.43 (D.C.

Cir. 1976) (en banc) (per curiam) (observing that a change of venue “would have been only of

doubtful value” where the pretrial publicity was national in scope).

       Furthermore, to the extent the poll is useful at a more general level in comparing the District

of Columbia to other districts, the poll indicates that levels of media exposure to the events of

January 6 are not significantly different in Atlanta than in Washington, D.C. The number of

respondents who had seen “[a] lot” of coverage in each jurisdiction differed only by three

percentage points (33% in D.C. versus 30% in Atlanta), which is within the margin of error. (ECF

67-1 at 1-2, 14) The number of respondents who had seen “[s]ome” coverage was exactly the

same (25% in both jurisdictions), and the number who had seen “[q]uite a bit” of coverage was

not significantly different (28% in D.C. versus 20% in Atlanta). Id. at 14. The total percentage of

respondents who were exposed to “[a] lot,” “[q]uite a bit,” or “[s]ome” news coverage was 86%

in Washington, D.C. and 75% in Atlanta. Id. at 14. This relatively small difference does not

suggest that news coverage has made it impossible to pick an impartial jury in Washington, D.C.

       The defendants point out (ECF 67 at 14) that 71% of respondents in D.C. said they had

formed the opinion January 6 arrestees were “guilty” of the charges brought against them. (ECF

67-1 at 14.) The survey failed, however, to identify (much less define) any of the charges brought

against the defendant. It also failed to provide respondents with the option of saying they were

“unsure” about guilt, even though such an option is required by professional standards that apply




                                                  21
           Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 22 of 31




in this area. See American Society of Trial Consultants, Professional Standards for Venue Surveys

at    9,      available   at   https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf

(“Respondents must be made aware that they can say they do not know or have no opinion.”). The

survey instead gave respondents a binary choice between “guilty or not guilty.” (ECF 67-1 at 14.)

Yet even without being provided the appropriate options, 26% of D.C. respondents voluntarily

gave an answer of “Depends” or “Don’t know/Refused.” Id. This shows that, even in response to

a poorly worded question, more than a quarter of the District’s residents realized the need to keep

an open mind about guilt.

       Understood in context, the Select Litigation poll does not indicate any higher degree of

juror bias than in Haldeman, where the en banc D.C. Circuit found no presumption of prejudice.

In Haldeman, 61% of respondents expressed a view that the defendants were guilty, as opposed to

the 71% here. See Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). But the survey in Haldeman first asked respondents whether they had formed

an opinion about whether the indicted Nixon aides were guilty or innocent, giving options for both

“No” (i.e. had not formed an opinion) and “Don’t Know/No Opinion.” Id. at 178 n.2. The survey

then asked whether respondents thought the defendants were “guilty or innocent in the Watergate

affair,” giving options for “Not Guilty Until Proven” and “No Opinion/Don’t Know.” Id. Only

after (a) being prompted to consider whether they could actually form an opinion, and (b) being

reminded of the presumption of innocence, did 61% of respondents say “guilty.” Id. Here, by

contrast, respondents were not provided a “don’t know” option, were not reminded of the

presumption of innocence, and were asked only whether they thought the “several hundred people”

arrested in connection with January 6 were “guilty.” (ECF 67-1 at 14 (Questions 3, 4))

       When asked about guilt in the context of a criminal trial, however, respondents in the Select




                                                22
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 23 of 31




Litigation survey were far less likely to give an answer of “guilty.” Question 5 asked them to

“[a]ssume [they] were on a jury for a defendant charged with crimes for his or her activities on

January 6” and then asked whether they were “more likely to vote that the person is guilty or not

guilty.” (ECF 67-1 at 14.) In response to this question, only 52% of D.C. respondents said

“Guilty,” and fully 46% volunteered a response of “Depends” or “Don’t know/Refused.” Id. Thus,

when asked to consider guilt or innocence in the context of a “defendant charged with crimes,” as

opposed to the “several hundred people . . . arrested,” nearly half of D.C. residents were committed

to keeping an open mind—even without being instructed on the presumption of innocence or being

provided an option for “Do not know.” This indicates, if anything, a lower degree of prejudice

than was present in Haldeman.

       The defendants also point out (ECF 67 at 14) that 62% of D.C. respondents (compared to

48% of Atlanta respondents) would describe “most of the people who were arrested for their

involvement in the events on January 6th” as “criminals.” (ECF 67-1 at 14 (Question 10).) The

answers to this question likely reflect the commonly held view that most people arrested for crimes

are in fact guilty of those crimes. But the fact that 62% of D.C. respondents expressed this off-

the-cuff view about “most” of the 900-plus January 6th arrestees does not demonstrate that all of

those respondents would be unable to impartially find the facts in a specific case after being

properly instructed by the Court. Moreover, the question demonstrates that fully 28% of D.C.

respondents would not describe those arrestees as criminals, and 9% were unsure or refused to

answer. (ECF 67-1 at 14.) And the 14% difference between D.C. and Atlanta—which could easily

be explained by demographic differences such as age and education levels (see ECF 67-1 at 15)—

would not justify the conclusion that this is an “extreme case” in which a change of venue is

required. Skilling, 561 U.S. at 381.




                                                23
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 24 of 31




       Nor should prejudice be presumed because a substantial numbers of respondents “would”

describe “the people who forced their way into the U.S. Capitol” as “[t]rying to overturn the

election and keep Donald Trump in power” (85%), engaging in “[i]nsurrection” (76%), or “[t]rying

to overthrow the U.S. government” (72%). (ECF 67-1 at 15.) For one thing, this question asked

specifically about those who “forced their way into the U.S. Capitol,” which suggests a higher

degree of culpability than simply entering the Capitol. For another, the poll did not provide an

“undecided” option but asked only whether respondents “would” or “would not” use those

descriptions. Id. Nor did the question define the offenses of “insurrection” or advocating the

overthrow of government, see 18 U.S.C. §§ 2383, 2385, offenses with which no defendant has

been charged in connection with January 6. And, most importantly, the poll did not answer the

key question: whether a sufficient number of prospective jurors can “lay aside [their] impression[s]

or opinion[s] and render a verdict based on the evidence presented in court.” Irvin v. Dowd, 366

U.S. 717, 723 (1961); see Patton v. Yount, 467 U.S. 1025, 1029 (1984) (no presumption of

prejudice where nearly 99% of prospective jurors had heard of the case and 77% indicated on voir

dire that “they would carry an opinion into the jury box”). In short, the Select Litigation poll does

not come close to demonstrating that “12 impartial individuals could not be empaneled” in

Washington, D.C. Skilling, 561 U.S. at 382.

       In any U.S. jurisdiction, most prospective jurors will have heard about the events of January

6, and many will have various disqualifying biases. But the appropriate way to identify and address

those biases is through a careful voir dire, rather than a change of venue based solely on pretrial

polling and media analyses. As in Haldeman, there is “no reason for concluding that the population

of Washington, D. C. [i]s so aroused against [the defendant] and so unlikely to be able objectively

to judge [his] guilt or innocence on the basis of the evidence presented at trial” that a change of




                                                 24
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 25 of 31




venue is required. Haldeman, 559 F.2d at 62.

   VI.      The January 6-Related Jury Trials That Have Already Occurred Have
            Demonstrated the Availability of a Significant Number of Fair, Impartial Jurors
            in the D.C. Venire.

         At this point, more than a dozen January 6 cases have proceeded to jury trials, and the

Court in each of those cases has been able to select a jury without undue expenditure of time or

effort. See Murphy, 421 U.S. at 802-03 (“The length to which the trial court must go to select

jurors who appear to be impartial is another factor relevant in evaluating those jurors’ assurances

of impartiality.”); Haldeman, 559 F.2d at 63 (observing that “if an impartial jury actually cannot

be selected, that fact should become evident at the voir dire”). Instead, the judges presiding over

nearly all of those trials were able to select a jury in one or two days. See United States v. Reffitt,

No. 21-cr-32, Minute Entries (Feb. 28 & Mar. 1, 2022); United States v. Robertson, No. 21-cr-34,

Minute Entry (Apr. 5, 2022); United States v. Thompson, No. 21-cr-161, Minute Entry (Apr. 11,

2022); United States v. Webster, No. 21-cr-208, Minute Entry (Apr. 25, 2022); United States v.

Hale-Cusanelli, No. 21-cr-37, Minute Entry (May 23, 2022); United States v. Anthony Williams,

No. 21-cr-377, Minute Entry (June 27, 2022); United States v. Bledsoe, No. 21-cr-204, Minute

Entry (July 18, 2022); United States v. Herrera, No. 21-cr-619, Minute Entry (D.D.C. August 15,

2022); United States v. Jensen, No. 21-cr-6, Minute Entries (Sep. 19 & 20, 2022); United States v.

Strand, No. 21-85, Minute Entry (D.D.C. Sep. 20, 2022); United States v. Alford, No. 21-cr-263,

Minute Entry (Sep. 29, 2022); United States v. Riley Williams, No. 21-cr-618, Minute Entries

(D.D.C. Nov. 7 & 8, 2022); United States v. Schwartz, No. 21-cr-178, Minute Entries (D.D.C.

Nov. 22 & 29, 2022); United States v. Gillespie No. 22-cr-60, Minute Entry (D.D.C. Dec. 19,

2022); United States v. Barnett, 21-cr-38, Minute Entries (D.D.C. Jan. 9 & 10, 2023); United States

v. Sheppard, No. 21-cr-203, Minute Entries (D.D.C. Jan. 20 & 23, 2023); United States v.




                                                  25
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 26 of 31




Eckerman, No. 21-CR-623, Minute Entry (D.D.C. Jan. 23, 2023). The only exceptions have trials

involving seditious conspiracy charges. See United States v. Rhodes, et al., No. 22-cr-15, Minute

Entries (Sept. 27, 28, 29; Dec. 6, 7, 8, 9, 2022). And, using the first five jury trials as exemplars,

the voir dire that took place undermines the defendant’s claim that prejudice should be presumed.

        In Reffitt, the Court individually examined 56 prospective jurors and qualified 38 of them

(about 68% of those examined). See Reffitt, No. 21-cr-32, ECF No. 136 at 121. The Court asked

all the prospective jurors whether they had “an opinion about Mr. Reffitt’s guilt or innocence in

this case” and whether they had any “strong feelings or opinions” about the events of January 6 or

any political beliefs that it would make it difficult to be a “fair and impartial” juror. Reffitt, No.

21-cr-32, ECF No. 133 at 23, 30. The Court then followed up during individual voir dire. Of the

18 jurors that were struck for cause, only nine (or 16% of the 56 people examined) indicated that

they had such strong feelings about the events of January 6 that they could not serve as fair or

impartial jurors. 2

        In Thompson, the Court individually examined 34 prospective jurors, and qualified 25 of

them (or 73%). See Thompson, No. 21-cr-161, ECF No. 106 at 170, 172, 181, 190, 193. The court

asked the entire venire 47 standard questions, and then followed up on their affirmative answers

during individual voir dire. Id. at 4-5, 35. Of the nine prospective jurors struck for cause, only

three (or about 9% of those examined) were stricken based on an inability to be impartial, as



        2
         For those struck based on a professed inability to be impartial, see Reffitt, No. 21-cr-32,
ECF No. 133 at 49-54 (Juror 328), 61-68 (Juror 1541), 112-29 (Juror 1046); ECF No. 134 at 41-
42 (Juror 443), 43-47 (Juror 45), 71-78 (Juror 1747), 93-104 (Juror 432), 132-43 (Juror 514); ECF
No. 135 at 80-91 (Juror 1484). For those struck for other reasons, see Reffitt, No. 21-cr-32, ECF
No. 134 at 35-41 (Juror 313, worked at Library of Congress); ECF No. 134 at 78-93 and ECF No.
135 at 3 (Juror 728, moved out of D.C.); ECF No. 135 at 6-8 (Juror 1650, over 70 and declined to
serve), 62-73 (Juror 548, unavailability), 100-104 (Juror 715, anxiety and views on guns), 120
(Juror 548, medical appointments); ECF No. 136 at 41-43 (Juror 1240, health hardship), 53-65
(Juror 464, worked at Library of Congress), 65-86 (Juror 1054, prior knowledge of facts).


                                                 26
         Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 27 of 31




opposed to some other cause. 3

        Similarly, in Robertson, the Court individually examined 49 prospective jurors and

qualified 34 of them (or about 69% of those examined). See Robertson, No. 21-cr-34, ECF No.

106 at 73. The Court asked all prospective jurors whether they had “such strong feelings” about

the events of January 6 that it would be “difficult” to follow the court’s instructions “and render a

fair and impartial verdict.” Robertson, No. 21-cr-34, ECF No. 104 at 14. It asked whether

anything about the allegations in that case would prevent prospective jurors from “being neutral

and fair” and whether their political views would affect their ability to be “fair and impartial.” Id.

at 13, 15. The Court followed up on affirmative answers to those questions during individual voir

dire. Of the 15 prospective jurors struck for cause, only nine (or 18% of the 49 people examined)

indicated that they had such strong feelings about the January 6 events that they could not be fair

or impartial. 4

        In Webster, the Court individually examined 53 jurors and qualified 35 of them (or 66%),

Webster, No. 21-cr-208, ECF No. 115 at 6, though it later excused one of those 35 based on

hardship, Webster, No. 21-cr-208, ECF No. 114 at 217-18. The Court asked all prospective jurors




        3
         For the three stricken for bias, see Thompson, No. 21-cr-161, ECF No. 106 at 51-53 (Juror
1242), 85-86 (Juror 328), 158-59 (Juror 999). For the six stricken for hardship or inability to focus,
see Thompson, No. 21-cr-161, ECF No. 106 at 44 (Juror 1513), 45 (Juror 1267), 49-50 (Juror 503),
50-51 (Juror 1290), 86-93 (Juror 229), 109-10 (Juror 1266).
        4
         For those struck based on a professed inability to be impartial, see Robertson, No. 21-cr-
34, ECF No. 104 at 26-34 (Juror 1431), 97-100 (Juror 1567); ECF No. 105 at 20-29 (Juror 936),
35-41 (Juror 799), 59-70 (Juror 696), 88-92 (Juror 429); ECF No. 106 at 27-36 (Juror 1010), 36-
39 (Juror 585), 58-63 (Juror 1160). For those struck for other reasons, see Robertson, No. 21-cr-
34, ECF No. 104 at 23-26 (Juror 1566, hardship related to care for elderly sisters), 83-84 (Juror
1027, moved out of D.C.); ECF No. 105 at 55-59 (Juror 1122, language concerns), 92-94 (Juror
505, work hardship); ECF No. 106 at 16-21 (Juror 474, work trip); 50-53 (Juror 846, preplanned
trip).



                                                 27
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 28 of 31




whether they had “strong feelings” about the events of January 6 or about the former President that

would “make it difficult for [the prospective juror] to serve as a fair and impartial juror in this

case.” Webster, No. 21-cr-208, ECF No. 113 at 19. During individual voir dire, the Court followed

up on affirmative answers to clarify whether prospective jurors could set aside their feelings and

decide the case fairly. See, e.g., id. at 32-33, 41-42, 54-56, 63, 65-66. Only 10 out of 53

prospective jurors (or about 19%) were stricken based on a professed or imputed inability to be

impartial, as opposed to some other reason. 5 The Webster Court observed that this number “was

actually relatively low” and therefore “doesn’t bear out the concerns that were at root in the venue

transfer motion” in that case. Webster, No. 21-cr-208, ECF No. 115 at 7.

        In Hale-Cusanelli, the Court individually examined 47 prospective jurors and qualified 32

of them (or 68%). Hale-Cusanelli, No. 21-cr-37, ECF No. 91 at 106, 111. The Court asked

prospective jurors questions similar to those asked in the other trials. See Hale-Cusanelli, No. 21-

cr-37, ECF No. 90 at 72-74 (Questions 16, 20). Of the 15 prospective jurors struck for cause, 11

(or 23% of those examined) were stricken based on a connection to the events of January 6 or a

professed inability to be impartial. 6



        5
         Nine of the 19 stricken jurors were excused based on hardship or a religious belief. See
Webster, No. 21-cr-208, ECF No. 113 at 46 (Juror 1464), 49-50 (Juror 1132), 61 (Juror 1153), 68
(Juror 951), 78 (Juror 419); Webster, No. 21-cr-208, ECF No. 114 at 102-04, 207, 217 (Juror 571),
188 (Juror 1114), 191 (Juror 176), 203-04 (Juror 1262). Of the ten other stricken jurors, three
professed an ability to be impartial but were nevertheless stricken based on a connection to the
events or to the U.S. Attorney’s Office. See Webster, No. 21-cr-208, ECF No. 113 at 58-60 (Juror
689 was a deputy chief of staff for a member of congress); Webster, No. 21-cr-208, ECF No. 114
at 139-41 (Juror 625’s former mother-in-law was a member of congress); 196-98 (Juror 780 was
a former Assistant U.S. Attorney in D.C.).
        6
         See Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 61-62 (Juror 499), 67-68 (Juror 872),
84-85 (Juror 206), 91-94 (Juror 653); ECF No. 91 at 2-5 (Juror 1129), 32 (Juror 182), 36 (Juror
176), 61-62 (Juror 890), 75-78 (Juror 870), 94-97 (Juror 1111), 97-104 (Juror 1412). For the four
jurors excused for hardship, see Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 77-79 (Juror 1524),
99 (Juror 1094); ECF No. 91 at 12 (Juror 1014), 31 (Juror 899).


                                                28
          Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 29 of 31




       In these first five jury trials, the percentage of prospective jurors stricken for cause based

on partiality is far lower than in Irvin, where the Supreme Court said that “statement[s] of

impartiality” by some prospective jurors could be given “little weight” based on the number of

other prospective jurors who “admitted prejudice.” Irvin, 366 U.S. at 728. In Irvin, 268 of 430

prospective jurors (or 62%) were stricken for cause based on “fixed opinions as to the guilt of

petitioner.” Id. at 727. The percentage of partiality-based strikes in these first five January 6-

related jury trials—between 9% and 23% of those examined—is far lower than the 62% in Irvin.

The percentage in these cases is lower even than in Murphy, where 20 of 78 prospective jurors

(25%) were “excused because they indicated an opinion as to petitioner’s guilt.” Murphy, 421

U.S. at 803. Murphy said that this percentage “by no means suggests a community with sentiment

so poisoned against petitioner as to impeach the indifference of jurors who displayed no animus

of their own.” Id. As in Murphy, the number of prospective jurors indicating bias does not call

into question the qualifications of others whose statements of impartiality the Court has credited.

       Far from showing that “an impartial jury actually cannot be selected,” Haldeman, 559 F.2d

at 63, the first five January 6-related jury trials have confirmed that voir dire can adequately screen

out prospective jurors who cannot be fair and impartial, while leaving more than sufficient

qualified jurors to hear the case. The Court should deny the defendant’s request for a venue

transfer and should instead rely on a thorough voir dire to protect the defendant’s right to an

impartial jury.

   VII.     A Jury Questionnaire Is Not Necessary in This Case.

       The defendants also contend that if the Court were to deny a transfer of venue, then the

Court must grant expanded examination of jurors before and during a formal voir dire—including

a jury questionnaire. (ECF 67 at 15-16.) This is incorrect. Although this Court has discretion to




                                                  29
        Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 30 of 31




use a written questionnaire, it need not do so because it can select an impartial jury using only in-

person voir dire. 7 Issues of pre-trial publicity and potential prejudice are more meaningfully

explored by in-person examination than by use of a jury questionnaire. “[W]ritten answers [do]

not give counsel or the court any exposure to the demeanor of the juror in answering the . . .

questions.” Mu’Min, 500 U.S. at 425. A prospective juror’s tone of voice and demeanor are

important. See Rosales-Lopez, 451 U.S. at 188 (observing that the court “must reach conclusions”

based on its “own evaluation[] of demeanor evidence and of response to questions”). Indeed,

“[h]ow a person says something can be as telling as what a person says.” United States v. Jackson,

863 F. Supp. 1449, 1459 (D. Kan. 1994); see also Mu’Min, 500 U.S. at 433 (O’Connor, J.,

concurring) (“A particular juror’s tone of voice or demeanor might have suggested to the trial

judge that the juror had formed an opinion about the case and should therefore be excused.”). And

even where a questionnaire is used, in-person follow-up questioning is important to give the court

the “face-to-face opportunity to gauge demeanor and credibility.” Skilling, 561 U.S. at 395. A

jury questionnaire would not materially assist jury selection in this case, since there is no

suggestion that this particular defendant has received significant, unfavorable pretrial publicity,

and any potential prejudice due to general media coverage of the events of January 6, 2021 can be



       7
          Some judges in this District have used written questionnaires to aid in screening potential
jurors in particular cases. See, e.g., United States v. Stone, --- F. Supp. 3d ---, 2020 WL 1892360,
at *2-3 (D.D.C. Apr. 16, 2020); United States v. Lorenzana-Cordon, No. 03-CR-331, 2016 WL
11664054, at *1 (D.D.C. Feb. 22, 2016). One judge used a questionnaire in a January 6 trial.
United States v. Alford, 21-cr-263, ECF Nos. 46 at 15, 50 (D.D.C. Apr. 18, 2022) (TSC), though
she later expressed that she “really regret[ted] allowing this questionnaire” and opined that it
“caused more logistical problems” than any benefit it provided. Alford, Trial Tr. 09/28/2022 at 7.
And in United States v. Samsel, 21-cr-537 (Dec. 15, 2022) (Minute Order) (JMC), the court has
indicated that it plans to use a juror questionnaire in advance of the March 6, 2023 trial. But the
practice is not common in this District. And judges in many January 6 cases have achieved the
efficiency often served by questionnaires by using a hybrid voir dire in which the court initially
asks questions of the entire venire, with prospective jurors noting their answers on notecards,
followed by individual questioning.


                                                 30
       Case 1:21-cr-00599-RBW Document 81 Filed 03/17/23 Page 31 of 31




adequately probed through in-person voir dire examination.


                                       CONCLUSION

       For the foregoing reasons, the defendant’s motion to transfer venue should be denied.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                    By:     /s/ Melanie L. Alsworth
                                            MELANIE L. ALSWORTH
                                            Ark. Bar No. 2002095
                                            Trial Attorney
                                            On detail to the USAO-DC
                                            601 D Street, N.W.
                                            Washington, DC 20530
                                            (202) 598-2285
                                            melanie.alsworth2@usdoj.gov

                                            VICTORIA A. SHEETS
                                            Assistant United States Attorney
                                            NY Bar No. 5548623
                                            601 D Street NW
                                            District of Columbia, DC 20530
                                            (202) 252-7566
                                            victoria.sheets@usdoj.gov

                                            TIGHE R. BEACH
                                            Assistant United States Attorney
                                            601 D Street NW
                                            Washington, D.C. 20530
                                            CO Bar No. 55328
                                            (240) 278-4348
                                            tighe.beach@usdoj.gov




                                              31
